     Case 2:20-cv-07903-JFW-JDE Document 9 Filed 10/15/20 Page 1 of 2 Page ID #:267




 1
                                                               JS-6
 2
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
12    L. C. CUNNINGHAM,                  )   No. 2:20-cv-07903-JFW (JDE)
                                         )
13                      Petitioner,      )
                                         )   JUDGMENT
14                    v.                 )
                                         )
      C. PFIEFFER, Warden,               )
15                                       )
                                         )
16                      Respondent.      )
                                         )
17                                       )
                                         )
18
19          Pursuant to the Order Summarily Dismissing Petition for Writ of
20    Habeas Corpus and Referring a Portion Thereof to the Ninth Circuit Court of
21    Appeals Pursuant to Ninth Circuit Rule 22-3(A),
22
            IT IS HEREBY ADJUDGED AND DECREED that:
23
            (1)   Grounds Two, Four, Five, Seven, Eight, Nine, and Ten, in their
24
                  entirety, and Grounds One and Six, to the extent they relate to the
25
                  2017 parole decision, of the Petition ARE DISMISSED WITH
26
                  PREJUDICE; and
27
      ///
28
     Case 2:20-cv-07903-JFW-JDE Document 9 Filed 10/15/20 Page 2 of 2 Page ID #:268




 1         (2)   Ground Three, in its entirety, and Grounds One and Six, to the
 2               extent they relate to Petitioner’s 1986 conviction, of the Petition
 3               are DISMISSED WITHOUT PREJUDICE in this Court.
 4
 5
      Dated: October 15, 2020
 6
                                                 ______________________________
 7                                               JOHN F. WALTER
 8                                               United States District Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             2
